                              Case: 1:19-cv-07286 Document #: 1-1 Filed: 11/05/19 Page 1 of 1 PageID #:51
ILND 44 (Rev. 09/07/18)                                                         CIVIL COVER SHEET
The ILND 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose
of initiating the civil docket sheet. (See instructions on next page of this form.)
I. (a) PLAINTIFFS                                                                                                          DEFENDANTS
    Arnold Day                                                                                                             Kenneth Boudreau, William Foley, Jude Evans, Michael Kill, Dan McWeeny,
                                                                                                                           James Brennan, Anthony Watson, Marty Radtke, City of Chicago, and
                                                                                                                           Unidentified Employees of the City of Chicago
   (b) County of Residence of First Listed Plaintiff Cook                                                                  County of Residence of First Listed Defendant Cook
                                        (Except in U.S. plaintiff cases)                                                   (In U.S. plaintiff cases only)
                                                                                                                           Note: In land condemnation cases, use the location of the tract of land involved.

   (c) Attorneys (firm name, address, and telephone number)                                                                 Attorneys (if known)

    Renee Spence, Loevy & Loevy, 311 N. Aberdeen St., 3rd Flr., Chicago, IL
    60607, 312-243-5900


II. BASIS OF JURISDICTION (Check one box, only.)                                                       III. CITIZENSHIP OF PRINCIPAL PARTIES (For Diversity Cases Only.)
                                                                                                                  (Check one box, only for plaintiff and one box for defendant.)
   1     U.S. Government                ■   3 Federal Question                                                                                     PTF        DEF                                                      PTF         DEF
           Plaintiff                            (U.S. Government not a party)                                     Citizen of This State                  1         1 Incorporated or Principal Place                         4       4
                                                                                                                                                                        of Business in This State

   2     U.S. Government                    4 Diversity                                                           Citizen of Another State                  2           2    Incorporated and Principal Place                5        5
           Defendant                           (Indicate citizenship of parties in Item III.)                                                                                of Business in Another State

                                                                                                                  Citizen or Subject of a                   3           3    Foreign Nation                                  6        6
                                                                                                                    Foreign Country
IV. NATURE OF SUIT (Check one box, only.)
            CONTRACT                                                  TORTS                                            PRISONER PETITIONS                                   LABOR                         OTHER STATUTES
   110 Insurance                            PERSONAL INJURY                   PERSONAL INJURY                         510 Motions to Vacate Sentence            710 Fair Labor Standards Act            375 False Claims Act
   120 Marine                                310 Airplane                      530 General                            530 General                               720 Labor/Management Relations          376 Qui Tam (31 USC 3729 (a))
   130 Miller Act                            315 Airplane Product              367 Health Care/                       535 Death Penalty                         740 Railway Labor Act                   400 State Reapportionment
   140 Negotiable Instrument                      Liability                        Pharmaceutical                     +DEHDV&RUSXV                           751 Family and Medical                  410 Antitrust
   150 Recovery of Overpayment               320 Assault, Libel & Slander          Personal Injury                    540 Mandamus & Other                          Leave Act                           430 Banks and Banking
       & Enforcement of Judgment             330 Federal Employers’                Product Liability                  550 Civil Rights                          790 Other Labor Litigation              450 Commerce
   151 Medicare Act                              Liability                     368 Asbestos Personal Injury           555 Prison Condition                      791 Employee Retirement                 460 Deportation
   152 Recovery of Defaulted Student         340 Marine                             Product Liability                 560 Civil Detainee – Conditions               Income Security Act                 470 Racketeer Influenced and
       Loans (Excludes Veterans)             345 Marine Product Liability                                             of Confinement                                                                        Corrupt Organizations
   153 Recovery of Veteran’s Benefits        350 Motor Vehicle                                                                                                                                          480 Consumer Credit
   160 Stockholders’ Suits                   355 Motor Vehicle                PERSONAL PROPERTY                                                                  PROPERTY RIGHTS                        485 Telephone Consumer
   190 Other Contract                            Product Liability            370 Other Fraud                                                                   820 Copyrights                              Protection Act (TCPA)
   195 Contract Product Liability            360 Other Personal Injury        371 Truth in Lending                                                              830 Patent                              490 Cable/Sat TV
   196 Franchise                             362 Personal Injury -            380 Other Personal                                                                835 Patent – Abbreviated                850 Securities/Commodities/
                                                 Medical Malpractice              Property Damage                                                                   New Drug Application                    Exchange
                                                                              385 Property Damage                                                               840 Trademark                           890 Other Statutory Actions
                                                                                  Product Liability                                                                                                     891 Agricultural Acts
                                                                                                                                                                                                        893 Environmental Matters
         REAL PROPERTY                          CIVIL RIGHTS                     BANKRUPTCY                           FORFEITURE/PENALTY                          SOCIAL SECURITY                       895 Freedom of Information Act
                                        ■
   210 Land Condemnation                     440 Other Civil Rights            422 Appeal 28 USC 158                  625 Drug Related Seizure                  861 HIA (1395ff)                        896 Arbitration
   220 Foreclosure                           441 Voting                        423 Withdrawal 28 USC 157                  of Property 21 USC 881                862 Black Lung (923)                    899 Administrative Procedure
   230 Rent Lease & Ejectment                442 Employment                                                           690 Other                                 863 DIWC/DIWW (405(g))                      Act/Review or Appeal of
   240 Torts to Land                         443 Housing/                                                                                                       864 SSID Title XVI                          Agency Decision
   245 Tort Product Liability                    Accommodations                 IMMIGRATION                                                                     865 RSI (405(g))                        950 Constitutionality of
   290 All Other Real Property               445 Amer. w/Disabilities -        462 Naturalization                                                                                                           State Statutes
                                                 Employment                        Application
                                             446 Amer. w/Disabilities -        463 Habeas Corpus - Alien                                                           FEDERAL TAXES
                                                 Other                             Detainee (Prisoner Petition)                                                 870 Taxes (U.S. Plaintiff
                                             448 Education                     465 Other Immigration                                                            or Defendant)
                                                                                   Actions                                                                      871 IRS—Third Party
                                                                                                                                                                     26 USC 7609

V. ORIGIN (Check one box, only.)
       1 Original                2 Removed from                 3     Remanded from                         4 Reinstated or                   5     Transferred from               6    Multidistrict        8    Multidistrict
         Proceeding                State Court                        Appellate Court                         Reopened                              Another District                    Litigation                Litigation
                                                                                                                                                    (specify)                                                     Direct File
VI. CAUSE OF ACTION (Enter U.S. Civil Statute under which you are filing and                                  VII. PREVIOUS BANKRUPTCY MATTERS (For nature of suit 422 and 423, enter the
write a brief statement of cause.)                                                                            case number and judge for any associated bankruptcy matter previously adjudicated by a judge of this Court.
                                                                                                              Use a separate attachment if necessary.)
42 U.S.C. § 1983 Civil Rights Action
VIII. REQUESTED IN                                         Check if this is a class action Under rule 23, Demand $                                                     Check Yes only if demanded in complaint.
      COMPLAINT:                                           F.R.CV.P.                                                                                                   Jury Demand:           Yes      No
IX. RELATED CASE(S)                     (See instructions)
     IF ANY                                                    Judge                                                                                    Case Number
X. Is this a previously dismissed or remanded case?                                  Yes                No        If yes, Case #                   Name of Judge
Date                                                           Signature of attorney of record
 11/4/2019                                                      s/ Renee Spence
